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                    IN THE UNITED STATES DISTRICT COURT
                      OF MARYLAND SOUTHERN DIVISION I I f                    I   :.




MONICA JEFFRIES
                                                                                      (
       PLAINTIFF                                                                      '.

       VS                                        Civil Action: 8:IS-CV-3480(RWT)

BOSTON SCIENTIFIC CORPORATION

ETAL

       DEFENDANTS

                     MEMORANDUM OF LAW IN SUPPORT

            OF PLAINTIFFS MOTION AND OBJECTION TO DISMISS

            MOTION TO ADD SOUTHERN MARYLAND HOSPITAL

            MOTION FOR EMERGENCY HEARING ON THE MERITS

         TO HAVE THE IVC FILTER REMOVED AND INJUNCTION

                     AGAINST DEFENDANTS AND TO HAVE

             PLAINTIFFS MEDICAL INFORMATION CONCEALED

                              FROM THE PUBLIC EYE.

                                   INTRODUCTION

       This is a product liability case brought by plaintiff Monica Jeffries as the person

of record, pro se to recover damages for injuries she HAS sustained as a result of

being implanted with 'Boston Scientific Greenfield IVC Filter in March 1995, at

Southern Maryland Hospital now a.k.a. Medstar. The idea behind the IVC Filters was

to protect thousands of patients at risk of recurrent pulmonary embolisms, inclusive of

plaintiff Jeffries in this matter. Jeffries like many other consumers implanted with the

Greenfield IVC Filter specifically made by Boston Scientific and distributed by

Southern Maryland Hospital, have resulted in subsequent injuries inclusive of the

perforation of plaintiffs vena cava in 2015. Plaintiff contends that the Greenfield
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Filter by Boston Scientific 'failed to work as intended, which caused plaintiff 'very

serious and ongoing physical, emotional, and economic damages, heart issues,

migration, and perforation to say the least. Accordingly, BSC, and other companies

like BSC are guilty of negligence and manufacturing a defective product. BSC knew

their product was defective, but continued to sell it without telling the public (plaintiff)

about it's risks. Plaintiff now walks on 'egg shells each and every day the device

remains' 'I'm like a walking time bomb', just like many other consumers who may

not be aware of the defective IYC filter. Boston Scientific Corporation et al as well as

Southern Maryland Hospital et al are liable unto the plaintiff at this time. This

however has come at a cost. Thousands were treated, and many filters failed inclusive

of the 'Boston Scientific Corporation IYC Filter, which was implanted in plaintiff at

Southern Maryland Hospital. These failures resulted in subsequent injuries even death

which may be the end result for plaintiff. Plaintiff like many other consumers turned

to medical teams to treat their medical conditions. Plaintiffs original complaint clearly

indicates that Boston Scientific is the defendant liable unto the plaintiff and now

Southern Maryland Hospital as well. Plaintiff avers her cause of actions: (I)

negligence, (2) strict liability-failure to warn (3) strict liability-design (4) strict

liability-manufacturing   defect; (5) breach of implied warranty of merchant ability; (6)

negligence misrepresentation and (7) solatium/to protect my kids should I not survive

resolution of this suit(wrongful death).

       Plaintiffs Amended Complaint although this court has not given me permission

to Amend as of today, clearly does not suffer from any 'fatal flaws' as defendant are

trying to proclaim, in fact it is 'crystal clear' that plaintiffs complaint is NOT

BARRED by any statute of limitations at this time,(I) as the defective IYC filter was

not discovered until 2015, and now if plaintiff is allowed to Amend her Complaint to
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include defendants Southern Maryland Hospital, this matter clearly 'cements the deal'

as Southern Maryland Hospital was the distributor of the Greenfield IVC filter.

Defendants have all but sealed plaintiffs coffin, SMH as they cannot locate and have

conveniently lost relevant and pertinent information about the 'Greenfield IVC Filter'

implanted in plaintiff at SMH, this discovery did not take place until September 2016;

and;

       (2) Plaintiff has successfully taking pain staking efforts to retrieve that relevant

information by seeking further clarification by Dr. Brian Holly a radiologist

interventionist at Johns Hopkins Hospital, seeking refuge as to what plaintiff should

do at this juncture about the very dangerous removal of the Boston Scientific

Greenfield IVC Filter; in furtherance plaintiff has since supplied this court as well as

the defendants in this matter with detailed reports about the perforation, scans about

the migration, if allowed Jeffries has requested Dr Brian Holly to further elaborate on

the very specific design of the 'Boston Scientific Greenfield IVC Filter' which clearly

implicates the IVC filter implanted in plaintiff is no doubt a 'Boston Scientific

Product'; (See plaintiffs exhibit A) it can clearly be concluded that the product is BSC

and was implanted by SMH et al;

       and (3) Plaintiff has clearly and with great detail,with and specificity supported

ALL of her claims, since Discovery is still early their have many other factors

uncovered at this juncture, plaintiff hereto requests this Honorable Court to grant her

permission to Amend her Complaint at this time. Plaintiff cannot and has gone to

great lengths to present this matter 'in a short and plain statement' this matter has

stemmed over 20 years, plaintiff cannot get the statements any shorter or plainer than

already presented to this forum. Defendants should make a 'short and plain
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resolution' to settle this matter immediately, plaintiffs life hangs in the balusters each

and everyday.

      First, and probably most importantly, plaintiff never knew the 'Greenfield IVC

Filter' had migrated and perforated her vena cava until I started having I) shortness of

breath 2) pain in my chest and lower stomach 3) heart palpitations 4) inability to ward

off pneumonia and other infections readily 5) lower limb DVT's 6) pulmonary

embolisms 7) the only thing left now is 'death'; all of which have occurred over the

past 2 years at a minimum. Plaintiff contends here that only after discovery of the

'perforation of her vena cava' did plaintiff did further research in 2015 only then did

plaintiff find out that there was a 'recall' on IVC Filters, plaintiff is not sure if 'BSe

IVC Filter was part of the FDA Recall in 2005. Hence therefore plaintiff 'could not

have know and did not know about the dangers of the Ive Filter in 2005'. As much as

plaintiff would have 'loved to have known before that time' this simply is not the case.

Defendants have based there assertions on a 'stale sequence of events'; plaintiff

contends that the toll should not and cannot toll until 2015 the year the perforation

was discovered, and not before.

       Plaintiff clearly 'did not say BSe recalled the filters' plaintiff stated that 'there

was a recall on Ive Filters by the FDA in 2005, which is based on my research in

2015; there is NO CONFLICT in plaintiffs pleading to that effect. Defendants are

trying to 'rewrite history' and put words in the plaintiffs mouth, defendants have tried

to manipulate the facts that 'plaintiff never knew of any recall until 2015' when

plaintiff realized that the IVC Filter she has and now perforating the vena cava; may

have also been recalled as researching her BSe Greenfield Ive Filter; and to no avail

Defendants BSe who distributed the IVC Filter via Southern Maryland Hospital have

now 'conventionality    lost plaintiffs medical records regarding same'. Therefore based
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on all of the above plaintiffs causes of action are NOT and cannot be barred by any

Maryland Statute of Limitation Laws at this time.

      Second, hereto Defendants come with 'much ado about nothing' plaintiff has

clearly, identified, supported, and shown evidence that BeS Greenfield IVe Filter is

without a doubt the filter implanted in her person by Southern Maryland Hospital al in

1995, upon further discovery it has been proven that although SMH have

'conveniently lost' plaintiffs medical records, the BSe Greenfield lVe filter has been,

identified by plaintiffs Doctors at Radiology Imaging, Surgical Associates, Dr David

Hydek, Dr. Ahmad, and now a 'radio logical intervention Dr Brian Holly, one of the

best radiologist interventionist in the country; it is 'sealed in stone' the IVe Filter is a

BSe product. (See exhibit photos of various      Ive Filters   as compared to BSe      Ive
Filter) If there were any 'guessing'   in determining that the Bse Greenfield IVe it

was the Defendants, 'guessing that plaintiff did not have strict proof that the IVe

filter is a BSe product, that was clearly implanted in plaintiffs person in 1999

distributed via Southern Maryland Hospital et al. There is 'absolutely      no guessing

games here' this is my life on the line. This court as well as defendants have been

supplied with more than ample evidence the BSe Greenfield Filter belongs to the

defendants in this matter; plaintiff hereto requests this Honorable eourt to allow

plaintiff to Amend her complaint; supplementing the report from Dr Brian Holly

about the identification properties of the BeS IVe Filter. There are no 'self serving

allegations' in the entire complaint in fact the evidence given to this court proves that

there is 'some kind of cover up' SMH et al have conveniently lost plaintiffs medical

records regarding same; much to plaintiffs detriment. This court should not allow

defendants to 'throw the baby out the house in the dishwater' in fact defendants

should be made to remedy this situation as soon as possible and stop playing "silly
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games" plaintiffs life is on the line at this juncture and so are other consumers in this

same situation.

      Third, BSC and SMH et al act in conjunction as medical teams, in tum, rely on

the research and development that device manufacturers put into their products. When

these manufactures fail as with BSC Greenfield IYC Filter implanted in plaintiff via

Southern Maryland Hospital et ai, fail to provide products that perform as intended.

Consumers such as the plaintiff and others will suffer, and on occasions will die, as

may be the case in this matter, to no avail and at plaintiffs detriment. Although

nothing is 100% guaranteed, as plaintiff clearly knows this; society expects these

companies such as BSC, Southern Maryland hospital to warn others of potentially life

threatening issues that may result from these devices.

      When things like this happens, manufacturers neglect to divulge life saving

information, those who fall victim such as the plaintiff in this matter should have

some kind of recourse to say the least. Based on all of the reasons above, and the

reasons outlined in more detail below, this Honorable Court cannot and should not

allow BSe's Motion to Stand for failure to state a claim pursuant to Fed. R. Civ. P.

12(b)(6), in the alternative should Deny defendants any relief whatsoever, and allow

plaintiff to Amend her complaint and to further order an injunction against the

defendants to dissuade them from causing other consumers further harm and danger,

and to deny defendants any relief and Dismiss their Motion with extreme prejudice.

                          PROCEDURAL BACKGROUND

       Plaintiff filed her initial complaint November 16,2015 against BSC et al and

now Southern Maryland Hospital a.k.a. Medstar for injuries sustained after the

insertion ofBSC Greenfield IYC filter in plaintiffs person sometime in March 1995,

and upon finding out in 2015 that the BSC lye Filter has now perforated plaintiffs
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vena cava, and continues to cause plaintiff ongoing health issues which may be

attributed to the BSe Ive Filter. BSe Motion to Dismiss Plaintiffs complaint for lack

of personal jurisdiction, lack of standing, and failure to state a claim should not be

allowed to stand, and should further be denied. Accordingly since Discovery is still

early plaintiff hereto requests that Southern Maryland Hospital a.k.a Medstar be

added to this case; namely because SMH et al was the distributor of the Ive Filter

and have now 'conveniently lost plaintiffs medical records regarding same.

      Although plaintiff is 'not an attorney, nor pretends to be an attorney' plaintiff

clearly is not aware of any 'extensive briefing' and it's closure as defendants have

indicated. Plaintiffs complaint was NOT deficient (I) , a short and plain statement'

was led as short and brief as any reasonable person could plead; in spite of the fact

that this matter stems over a course of over 20 years and counting. Plaintiff clearly

and with specificity plead her case in a short and plain layman's terms to say the least

and pursuant to Rule 8, (2) plaintiff clearly and with specificity demonstrated the fact

that she was implanted with BSe Ive Filter in 1995, via Southern Maryland Hospital

et ai, supplemental information from Dr. Brian Holly, Johns Hopkins Hospital,

Radiologist Interventionist to follow, for additional clarification of the 'Specific BSe

Greenfield Ive Filter, plaintiff has previously supplied this court with relevant

identifYing documentation about the BSe Ive Filter. (3) Plaintiff claim is not and

could not be barred by any statute oflimitations,   as the 'perforated Ive tilter' was not

discovered until 2015 via eAT Scans & x-rays; after plaintiff continued to complain

of shortness of breath and pain.

        Plaintiff timely Amended her complaint as instructed by this Honorable eourt

only later to discover that BSe in conjunction with SMH have some how 'lost

plaintiffs medical records' at this time. Plaintiff has previously supplied this court
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with relevant documentation implicating the defendants of this act. Therefore based

on all of the above and other infornJation as outlined below, this matter clearly is

NOT barred by any statute of limitations, as the defendant are trying to reinvent

history for no other reason then to be dismissed from this matter, as plaintiffs

complaint does not suffer from any continuous deficiencies, defendants 'unwarranted

motions' are however plagued with 'much ado about nothing' and should be

dissuaded from continuing to saddle this honorable court and the plaintiff in this

matter with a bunch of 'stale issues, that have been proven, previously'.

                                   LEGAL STANDARD

      Defendants once again come into this forum suggesting plaintiffs        case is

meritorious, when in fact this matter is 'very evident' the defendants have tried to

throw everything but the kitchen sink into this matter to be dismissed. This matter is

about sse    IVe Greenfield implanted in plaintiff 1995 which has now perforated

plaintiffs vena cava. sse    and Southern Maryland Hospital et al had 'known risks and

failed to warn of known or scientifically knowable dangers. Individuals like plaintiff

who have had Ive filter surgeries may have experienced or may likely experience

device failures. The development of these issues has caused the FDA to issue

warnings against the manufacturers. Many of these irUuries like the plaintiff are

serious and have become life threatening. Plaintiffs complaint does more than raise a

right to relief above the speculative level, in fact new evidence clearly demonstrates

that sse    Greenfield Ive Filter is the culprit of plaintiffs injuries to her vena cava,

(See exhibits attached) nowhere in plaintiffs medical records prior to 20 15, describes

a 'perforated vena cava';and defendants Southern Maryland Hospital et al as the

distributor of the sse   product, also owe plaintiff due diligence at this point,

defendants have 'lost' plaintiffs medical records. Defendants just for the sake of
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argument, seek to further burden this court and the plaintiff with unwarranted motions,

as BSe & SMH are liable unto the plaintiff in this matter.

                                     ARGUMENT

1. DEFENDANTS CANNOT NOW COME INTO THIS COURT WITH A

STATUTE OF LIMIT AnONS DEFENSE.

A. Plaintiffs Tort Cause of Action are NOT BARRED by Maryland's Statute of

Limitation.

      In accordance with this courts explicit directive in its August 10, 2016

Memorandum Opinion, plaintiff has gone to great lengths to demonstrate that her

claim is not barred by the statute of limitations. Plaintiff did not know of any recalls

pursuant to BSe Greenfield Ive Filter, or any other Ive Filters until it was

discovered and confirmed by CAT Scans and intensive X-rays, that the BSe Ive

filter had perforated plaintiffs vena cava, in 1995 and not before that time. (See

attached reports).

      After plaintiffs research in November 2015 it was discovered that the FDA

recalled all Ive Filters inclusive of BSe Greenfield Filter, which was not designed to

remain as a pem1anent vessel in the plaintiff. Therefore the toll does not and cannot

start before plaintiff has received or had at a minimum an 'inquiry notice'. A plaintiff

is on inquiry notice when the plaintiff 'possesses' facts sufficient to cause a

reasonable person to investigate further, and that a diligent investigation would have

revealed that plaintiff was a victims of the alleged tort. This a far cry from what any

reasonable person such as plaintiff has experienced. In fact defendants have not as of

today notified the plaintiff and other consumers like her of Bse defective product. It

was NOT UNTIL 2015; plaintiff experienced on going pains and shortness of breath,

and the inability to fight off several bouts of pneumonia and infections, that the BSe
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Ive Filter was the root cause of plaintiffs medical issues. Defendants here again,

'tries to put words in plaintiffs mouth' by stating that 'BSe publicized a voluntary

advisory of her alleged product, which occurred after her research when she was

found to have the defective product in 20 15, that in 2005 there was a recall by FDA

on Ive Filters. Plaintiff could not have known of any recall or notices prior to 2015

as 'plaintiff had no need' to investigate the BSe product. Defendants comment simply

is NOT TRUE, in fact plaintiff stated in 'a short and plain statement' to be exact; that

there had been a recall on Ive Filters which may be inclusive ofBSe     Greenfield Ive

filter implanted in the plaintiff.

       Plaintiffs admission that there were health issues from the inception of the

implantation only confirms that; plaintiff was very knowledgeable of      her medical

issues, as they were ongoing. Now that the BSe IVe Filter was implanted what was

going to follow. Plaintiff has been plagued with on going health issues, not knowing

what was going to go wrong, now that the device was implanted. Although plaintiff

had the device since 1995, it was not proven that the device was broken until 2015.

Accordingly, the plaintiff was not on 'inquiry notice of her cause of action' until 2015

when the Bse Ive Filter was discovered to have perforated her person' at which

point plaintiff went to extreme measures as a reasonable person in plaintiffs position

to undertake the investigation which, was done with reasonable diligence, which led

to the discovery that not only had the BSe product perforated her vena cava, but also

SMH a.k.a. Medstar have 'lost' plaintiffs medical infomlation entrusted to them. If

anyone has slept on any event it would be the Defendants in this matter, as defendants

and now Defendants SMH et al have lost very critical information much to plaintiffs

detriment. Defendants cannot now come into this court trying to blame plaintiff for

Bse shortcomings as they are clearly liable unto the plaintiff at this time.


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                               WHAT TO LOOK FOR:

      Patients such as the plaintiff with a failing or defective IVC Filter often present

with chest pain or shortness of breath, both of which plaintiff did not experience until

November 2015. Since this is atypical, these patients like plaintiff present their doctor

or the emergency room for an evaluation or treatment. A medical professional will

order imaging tests, such as a eT scan or MRI, to determine if the Ive Filter may be

the cause of the patients chest pain or shortness of breath. As in plaintiffs case

although there have been a number of hospitalizations, none were directly attributable

to the BSe product until 2015 when plaintiff presented these condition to her doctor.

B. Plaintiffs contract cause of action (Breach of Implied Warranty         of

Merchant-ability)   Cannot and should not be barred by the statute of limitation.

      Plaintiff hereto is appalled that defendants have divulged 'very private medical

information' to this forum as well as the public regarding her 'breast implants' this

was done with total disregard, willfully, and wantonly, and with total disrespect for

plaintiffs person. The 'medically necessary breast implants' were due to the fact

plaintiff had Stage 1II breast cancer, the removal of the breast was 'medically

necessary the implant and reconstruction ofthe breast was also 'medically necessary

as the plaintiffs equilibrium was thrown off completely due to the removal of the

breast, in relation to the large size of the tumor, the entire breast had to be removed.

This is a 'very private' matter for the plaintiff yet defendants took the first opportunity

they could to 'completely embarrass the plaintiff' hereto making this very private

information for the public to see. The fact that plaintiff had stage III breast cancer,

and had implants inserted into her person has 'ABSOLUTELY NOTHING' to do

with the defective BSe Greenfield Ive Filter. Plaintiff is 'sick and tired' of the

dcfendants on going blatant, humiliation and snide comments, and divulging her



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private information to this forum for absolutely no reason except 'to ridicule and

embarrass plaintiff, the exposure of the breast surgery has no place in this

complaint.The timeliness of my breast surgery has 'ABSOLUTLY NOTHING' to do

with BSC defective product. Because of this dastardly deed this court should sanction

the defendants as to deter them from ever exposing such private information about

plaintiff ever again, and for no relevant reason, this act was completely unwarranted,

unnecessary, and is 'very ugly, mean, and cruel' to the plaintiff to say the least. The

mere fact that Defendants took the first opportunity they could to indirectly, use

Miller v Bristol -Myers Squibb, a similar case should be ignored.

      A section 2-615 motion to dismiss presents a question of law, which is

reviewed DE Nov. Liverpool v Amoco Oil Co., 201 Ill.2nd 134, 147-48,267 III . Dec

14, 776N.E. 2d 151(2002). In reviewing a motion to dismiss under section 2-615, we

accept as true all well plead facts and reasonable inferences therefrom. Jackson v.

South Holland Dodge, Inc. 197 1l1.2d39,44258Ill.Dec79,744        N.E. 462(2001). We

determine whether plaintiff asserts a cause of action upon which relief may be granted

after considering all allegation in a light most favorable to the plaintiff. Jackson,

I 97Ill.2dat 45,258IlI.Dec.79,755    N.E. 2d 462. Article 2 of the UCC imposes the

implied warranty of acceptability.

       To succeed on a claim of breach of implied warranty of Merchant-ability, a

plaintiff must allege and prove I) a sale of goods 2) by a merchant of those goods, and

3) the goods were not merchantable quality. Plaintiff has meet the prongs of this

matter as to 'breach of implied warranty of merchandise and is NOT barred by any

statute of limitations. Defendants motion for relief pursuant to case law is 'way off

track', and clearly not barred by the statute of limitations.
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II. PLAINTIFFS ALLEGATIONS COLLECTIVELY AND WITH

SPECIFICITY AND IF ALLOWED TO AMEND HAS EVIDENCE FROM A

MEDICAL EXPERT DR. BRIAN HOLLY THAT THE GREENFIELD IVC

FILTER IS A PRODUCT OF BSC EXCLUSIVELY AND SUPPORTS A

REASONABLE INFERENCE THAT SHE RECEIVED BSC DEFECTIVE

GREENFIELD IVC FILTER.

      Defendants cannot now come into this court 'simply' denying the Greenfield

IVC filter implanted in plaintiff sometime in 1995 is not BSC product. SSC and this

court has been given a plethora of evidence via of x-rays, CD reports, confirmation

from plaintiffs various doctors, and now evidence from plaintiff expert witness Dr.

Brian Holly an expert radiologist interventionist@ Johns Hopkins Medical Center,

which has evaluated the plaintiffs person and her medical records, after an depth

review of all the medical evidence. Dr. Brian Holly has definitively, using SSC

relevant identifiers, and markers and design, confirms that the Greenfield IVC Filter,

is a unique design attributable to and belonging to BSC exclusively; (See exhibit A)

plaintiff hereto requests this honorable court to allow her to amend her complaint

supplementing the 'relevant evidence' from Dr. Holly, and in furtherance adding

defendant Southern Maryland Hospital a.k.a. Medstar to this complaint.

       Although plaintiff went to SMH to retrieve the relevant medical information

strictly seeking the product identification numbers on three different occasions;

Defendants SMH have now admitted they have lost plaintiffs medical records

pertaining to this very relevant information. Plaintiff has previously supplied this

forum with this information. Accordingly, since Discovery is still early and on-going,

plaintiffs complaint is a 'far cry from speculative' in fact defendants on going fiasco

about much ado about nothing, continues to be a thorn in plaintiffs side, defendants
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continue to 'deny they are the owners of the Greenfiled IVe Filter. and yet they offer

absolutely no evidence to refute plaintiffs accusations although defendants have been

given a plethora of evidence that puts BSe in direct liability unto the plaintiff.

Although defendants want to 'play blind mans bluff' the precise information with the

product identification has been asked for by plaintiff unto the co-defendant SMH et al

on at least 3 separate occasions. Only recently has co-defendant SMH formerly

acknowledge they have lost plaintiffs medical records, however SMH was able to

ONLY locate the supplied operative report, this act in itself is suspect and deems to

protect BSe who continues to harbor on a set of stale facts in order to weasel out of

this complaint.

      Fortunately, plaintiff knew precisely which filter was implanted in her person.

Defendants mere denial is not enough to allow their motion to stand. In furtherance, it

is with specificity, that plaintiff has offered the defendants the following in support of

identification of the BSe IVe Greenfield Filter plaintiff hereto offers the following: I)

the number of struts are exclusive to BSe lve Filter 2) the hooks on the bottom of

each strut is also exclusive to BSe IVe Filter 3) Dr. Brian Holly has evaluated the eT

Scan of the filter hereto he has identified the BSe IVe Filter 4) the timeliness of the

implantation in conjunction with type of filter that was available in 1995 is directly

associated with the BSe IVe Filter exclusively 5) plaintiffs doctors at least 4 of them

have also identified the BSe IVe Filter via eT Scans, radio logical interventions, and

surgical procedures have also concluded that the BSe IVe Filter was the 'exact

model' implanted in plaintiff in 1995, of which SMH has 'claimed' they cannot find

the medical records much to plaintiffs detriment, this all seems to be a 'cover up' to

protect the Defendant BSe, how convenient SMH could/did find the 'operative

report' yet cannot locate the 'identifiers' of the lve Filter.


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III. Plaintiffs causes of action are totally warranted,      Defendants    have not

highlighted any allegations containing any legalese, employing or paraphrase              the

elements of the cause of action or otherwise by their terms alleging points of law.

      Defendants have not determined any facts that warrant an assumption of truth.

After establishing the legal baseline against which to measure the complaint, a

defendant must identify all allegations that it can argue are not 'entitled to the

assumption of truth. Id. At 1950.Thus at the very least, a motion to dismiss should

note the areas in which a complaint relies on legal labels instead of subsidiary facts.

Beyond that, the courts have not developed any mechanical analysis to distinguish

between well pleaded factual allegations and 'mere conclusive statements' .Ultimately,

the task for a defendant at this first stage is to convince the court that as much of the

complaint as possible is parroting legal standards rather than referring to case specific

acts or omissions within the plaintiff knowledge. Defendants have failed miserably to

refute plaintiffs allegations are 'not true'. A particular issue that arises is not to treat

facts alleged based on 'information and belief.'     Therefore based on all of the above

Defendants request should be denied, until they meet the crux of this statute.

       Beneath the formal analysis described in Iqbal,129 S. Ct. At 1950 are a set of

informal considerations, which after Womble and Iqbal have formalized litigating a

motion to dismiss. While Womble and Iqbal have formalized the analysis of 12(b)(6)

motions significantly, they have by no means eliminated the discretion inherent in

deciding one. To the contrary a court will rely on substantial judgment and intuition in

distinguishing between facts and conclusions as well as in determining whether the

facts alleged create a plausible inference ofliability.

A. Solatium (Count Seven)

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      Plaintiff nor this Court, or the Defendants knows if this matter will be resolved

before plaintiffs demise. The mere fact that plaintiff has to walk around each and

everyday, 'on eggshells' in an effort not to disturb the 'perforated vena cava' and may

not the 'survive' the surgery for removal of the IVC filter in a timely manner. Hereto

plaintiff just wants to protect her kids, should she not survive either the resolution of

this matter, or the surgery to 'try to retrieve the IVC filter at some later date. Should

plaintiff not survive the resolution of this matter due to her demise due to the IVC

filter, it will be a financial burden on my children to bury me without notice. This is a

matter as a 'responsible mother' to want to protect her children, at this juncture, I am

taking this opportunity to 'NOW JOIN MY CHILDREN FRED, JEREMY, &

ASHLEY at this time.

B. Strict Liability:Failure   to Warn (Count Two)

       Defendants come into this Honorable Court once again refuting the fact that

BSC is the manufacturer and distributor, and owner of the 'Greenfield IVC Filter'

implanted in the plaintiff via Southern Maryland Hospital et al in 1995. The rule of

strict liability applied in product liability suits makes a seller responsible for all

defective items that unreasonably threaten the personal safety of a consumer like the

plaintiff or the consumers property. The vendor is liable ifhe or she regularly engaged

in the business of selling such products, which reach the consumer like the plaintiff

without any substantial changes having been made in their condition. The vendor is

liable even ifhe or she exercised care in handling the product and if the consumer

bought the product somewhere else and had no direct dealings with the vendor.

Plaintiff is NOT CLAIMING anything, it is a FACT the Greenfield IVC Filter is BCS

defective product. Defendants ongoing and mere denial is not enough to survive this

motion and should be dismissed.


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      The principle of proper labeling includes claims made in sales brochures,

product displays, and public advertising. It extends beyond warranty or negligence

law, because a seller is strictly liable to users or purchasers of the product who are not

in Nativity with the seller. A manufacturer like BSC who creates a demand for goods

through printing and broadcast media has the responsibility to determine that the

product has the qualities represented to the general public. Some courts allow injured

consumers to sue even if they have not read a certain label or advertisement. The

standard is that if the advertisement is directed toward the public at large and makes

claims that a normal consumer would take into consideration when deciding to make

a purchase, then the manufacturer must stand behind that claim for every member of

the public. Although BSC (defendants) have met all the prongs ofthis defense now

they (BSC) want to abandon ship, at the detriment of plaintiff and consumers like the

plaintiff. Based on all of the above the defendants motion should be denied.

C. Negligent Misrepresentation      (Count Six)

      The duty to guard against negligence and supply a safe product applies to

everyone in the chain of distribution inclusive of BSC and SMH in this particular

matter, who carelessly makes a defective product, the company that uses the product

to assemble something else without discovering an obvious defect, and the vendor

who should exercise greater care in offering products for sale. These individuals owe

a duty of care to anyone who is likely to be injured by such a product if it is defective

i.e. BSC Greenfield IVC Filter implanted in plaintiff; including the initial buyer, that

person's family members, any bystanders, and persons who lease the item or hold it

for the purchaser. Additionally, the duty to exercise care involves all phases of getting

a product to the consumers or users. The product must be designed in such a way that

it is safe for its intended use. It must be inspected and tested at different stages, made



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from the appropriate materials, and assembled carefully. The products container or

packing must be adequate. The manufacturer must also furnish adequate warnings an

directions for use with the product. The seller is proscribed from misrepresenting the

safety or character of the product an must disclose all defects. Therefore, both BSC

and SMH are liable unto the plaintiff Jeffries, therefore based on all of the above the

defendants motion cannot and should not be allowed to stand and instead dismissed at

this time.

       Article 2 of the UCC imposes the implied warranty of merchant ability. 810

ILCS 5/2-314(West 2000). To succeed on a claim of breach of implied warranty of

merchant ability, a plaintiff must allege and prove; I) a sale of goods hence: SMH et

al purchase of the BSC IVC Filter 2) by a merchant of those goods, hence added

Defendants SMH et al 3) the goods were not of merchantable quality. 810 ILCS

5/2-3 14(l)(West 2000); see Garcia, 244 Ill. Dec. 651,613 N.E. 2d 1243; Malawy v.

Richards Manufacturing CO., 150 IlI.App.3d 549,558.103 IlI.Dec. 355, 50 I N .E.2d

376(1986). Unless excluded or modified, this warranty is implied in every sale under

these conditions. Section 2-314 provides, 'a warranty that the goods shall be

merchantable is implied in a contract for their sale if the seller is a merchant with

respect to goods of that kind. (Emphasis Added) UCC comments explain that this

language in section 2-314 requires a merchant to have professional status as to a

particular kind of goods, which is narrower than the general definition of merchant

found in section 2-104. Therefore based on all of the above Defendants motion cannot

survive and should be dismissed at this time.

D. Breach of Implied Warranty of acceptability (Count Five)

       The viable breach of the implied warranty of acceptability theory in this matter

is as follows. The implied warranty of acceptability as applied to consumer products


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is essentially a guarantee that the product is not defective or mislabeled. This means

that the product is fit for the general purposes for which it and similar products are

sold, and that the product matches any promises or factual descriptions on the

packaging. Plaintiffs Greenfield IVC Filter was apparently not for long term use.

Since SMH et al were the purchasers of the IVC Filter, plaintiff is not aware of any

labeling that may have been given to SMH et al and not the plaintiff. A faulty product

design might mean that all of the products, as manufactured, breach the warranty of

acceptability, or just one individual product such as the plaintiffs was somehow made

defective before it's sale to plaintiff. That said it is evident that the hooks on the struts

of the IVC filter have now perforated plaintiffs vena cava, making the hooks an

apparent defective property of the Greenfield IVC Filter implanted in the plaintiff, the

IVC Filter apparently was NOT Designed to remain a permanent vessel in the

plaintiff. Typically a seller or manufacturer cannot get around the implied of warranty

of accountability except in very specific situations. For example a state may not apply

the warranty of acceptability to as is sales, provided the conditions of the sale meet

precise legal requirements defined by the state. Therefore Defendants mere denial

cannot survive this motion and should be denied at this juncture.

E. Strict Liability: Design Defect and Manufacturing          Defect ( Counts Three and

Four).

         Plaintiffs Amended Complaint clearly sets forth facts supporting her strict

liability design defect and manufacturing defect causes of action. Plaintiff hereto

allege the following facts supporting her claim:

I) The filter was already equipped with hooks on the end of each strut that now have

perforated the plaintiffs vena cava, when it left the possession or control of the seller

that has now caused plaintiff substantial harm. 2) The Greenfield IVC Filter was in
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fact unreasonably dangerous for plaintiffs use, since it has been left in plaintiffs

person over twenty years, as the device was not designed to remain a permanent

vessel in the plaintiff. 3) the defective lVe filter is the direct cause of the perforation

in the plaintiffs vena cava, and possibly the cause of other illnesses experienced by

the plaintiff since the injuries are on going. 4) the [Ve Filter did in fact reach the

plaintiff without any substantial change in its condition prior to it's implantation in

the plaintiff, now the hooks on the struts and the side effects are totally unwarranted.

As with other theories of products liability, recovery under a breach of warranty

theory also involves Nativity issues. The old rule stated that implied warranties only

rant to the immediate buyer so that middleman could sue a manufacturer for a product

defect, and a buyer could sue a middleman, but the buyer could not sue the

manufacturer because the buyer did not purchase the product directly from the

manufacturer. Please not that this history only applied to implied warranties and not

express warranties. Therefore based on all of the above Defendants motion cannot

survive and should be dismissed at this time.

1. Plaintiffs Amended Complaint Clearly Articulates a Manufacturing Defect.

       Plaintiff was not given any labeling instructions on how the filter should be

used, in fact the Defendants NEVER gave plaintiff any information about the filter at

all. [n fact it is now the design ofthe Greenfield Filter with it's struts and hooks which

are 'now embedded, and perforated in plaintiffs vena cava, and 'more than likely

cannot be removed at this time. Plaintiffs statements are not 'bald' in fact the hooks as

designed on the lVe Filter is the direct cause of 'what appears to be a permanent bond

making the lVe filter a danger to plaintiffs person at this time. Plaintiff assertions are

'full of hairy facts' that warrant resolution at this time. The defective product, along

with being the actual cause of the injury, must also be the proximate cause of the


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injul)', as in the plaintiffs case. Thus, the defendants are liable unto the plaintiff since

there was NOT an intervening act superseding the defective product as the proximate

cause of the injuries suffered by the plaintiff. Plaintiffs claim of breach of warranty

theol)', any damages plaintiff collects are the same as those she can collect under an

ordinal)' or strict liability theol)'. Therefore since this claim is NOT based on any

BALD conclusive statements, defendants mere denial cannot survive this motion and

should be dismissed at this time.

2. Plaintiff hereto Articulates with Specificity in the design of the defect in the

device.

       It has been made vel)' clear through out this complaint that the design of the

Greenfield Ive Filter is the direct cause of plaintiffs ongoing health issues. Namely

the 6 struts with the hooks on the end of each have now perforated plaintiffs vena

cava, this design is unique to the Greenfield filter. The hooks have now become

embedded in plaintiffs person and may not be retrievable at this time, since the device

has been in plaintiffs person over 20 years. The struts on the filter have now become

intrusive unto plaintiffs other major organs and vessels, and have now put the

severance of those major vessels in harms way. The hooks are so embedded in the

plaintiffs person, it may be impossible to retrieve at this time and to attempt to remove

it may cause the plaintiff a death sentence. The device was NOT made to remain a

permanent vessel in the plaintiff apparently, however the defendants have never

warned plaintiff and others like her about the defective Ive Filter made exclusively

by BSe and distributed via Southern M3l)'land Hospital et al. Therefore based on all

of the above Defendants motion cannot survive, and should be dismissed at this

juncture.

F. Negligence and Gross Negligence (Count One)


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      Plaintiffs negligence and gross negligence claims are well versed in this motion.

The duty to guard against negligence and supply a safe product, supplies to everyone

in the chain of distribution, including a manufacturer who carelessly makes a

defective product e.i. Greenfield Ive Filter implanted in plaintiff, the company that

uses the product to assemble something else without discovering an obvious defect,

and the vendor who should exercise greater care in offering products for sale e.i.

Southern Maryland Hospital a.k.a. Medstar et al,. All these individuals owe a duty of

care to anyone who is likely to be injured by such a product if it is defective,

including the initial buyer, that person's family members, any bystanders, and persons

who lease the item or hold it for the purchaser. Additionally, the duty to exercise care

involves all phases of getting a product to the consumers or users. The product must

be designed in such a way that it is safe for its intended use. It must be inspect and

tested at different stages, made from the appropriate materials, and assembled

carefully. The products container or packaging must be adequate. The manufacturer

must also furnish adequate warnings and directions for use with the product. The

seller is proscribe from misrepresenting the safety or character of the product an must

disclose all defects at any given time relevant to this action. Defendants although it

has been over 20 years, still has not recalled it's defective Greenfield Ive Filter. In

furtherance, apparently the 'greenfield Ive Filter' was not made to be a permanent

device in the plaintiff, BSe should at a minimum notified plaintiff and others like her

about the possible defects later found in the BSe defective product. Therefore based

on all of the above the Defendants motion cannot and should not survive and instead

should be dismissed at this time.
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IV. PLAINTIFF      HAS CLERLY AND WITH SPECIFICITY                    PLED VERY

RELEVANT       FACTS TO SUPPORT           HER PUNITIVE DAMAGES CLAIM TO

SAY THE LEAST, DEFENDANTS                MERE DENIAL IS UNWARRANTED.

      In order for actual malice to be found in a products liability case, regardless of

whether the cause of action for compensatory damages is base on negligence or strict

liability, the plaintiff must allege and prove I) actual knowledge of the defect on the

part of the defendant, in this case defendants clearly knew at least since 2005 that the

sse   Ive Greenfield was defective, and that it should not remain a permanent device

in the plaintiff in this case, defendants had at least 20 years to profess that the sse

Ive filter was in defective 2) the defendants conscious and deliberate disregard of the

foreseeable harm resulting from the defects; defendants clearly knew sometime way

before 2015 when plaintiff discovered the filter had perforated her vena cava, that

sse   device first and foremost; was not suppose to be a permanent vessel, secondly

defendants knew sometime before 2015 that the hooks found exclusively on the sse

Ive Filter could cause irreversible damage to persons sueh as the plaintiff, should the

device remain long past it was intended. The defendants on going actions for over 20

years are clearly indicative that defendants conduct was characterized by evil motive,

intent to injure, ill will, and fraud i.e. 'actual malice'. Defendants hereto continues to

commit such evil and dastardly deeds, and harm to plaintiff here again although it has

been proven throughout this complaint that the sse       Greenfield Filter that was

implanted in the plaintiff in 1995, and still remains causing further harm unto the

plaintiff in this matter, however the defendants are still 'simply denying' the fact that

they are liable unto the plaintiff at this time and 20 years later.

       The Nativity doctrine dominated the nineteenth century law, yet courts created

exceptions to avoid denying an injured such as the plaintiff a remedy. Soon Nativity
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of contract was not required where the seller fraudulently concealed the defect,

defendants clearly knew sometime before 2015 that BSC IVC filter was defective in

more than one aspect, yet BSC never notified plaintiff about any recalls of the BSC

product, the defect or where the products were inherently or imminently dangerous to

human life or health, such as poisons or guns. The decisions then began to expand

these exceptions. Some courts dropped the fraud requirement. A concealed defect

coupled with some sort of 'invitation' by the defendant to use the product was enough.

In a few cases, the term imminently dangerous was construed to mean especially

dangerous by reason of the defect itself and not necessarily dangerous pr se.

      The seminal case of mac pherson v. buick motor co., 217 NY 382, III N.E.

1050 (N.Y. 1916) broadened the category of 'inherently' or 'imminently'         dangerous

products so as to effectively abolish the Nativity requirement in negligence cases. It

held that lack of Nativity is not a defense if it is foreseeable that the product, if

negligently made, is likely cause injury to a class of persons that includes the plaintiff.

Because this is essentially the test for negligence, the exception swallowed the rule.

The MacPherson case quickly became a leading authority, and the Nativity rule in

negligence cases soon was ignored, Increasing public sympathy for victims of

industrial negligence also contributed to the demise of the rule. Businesses have also

attempted to set maximum amounts that persons can recover for punitive damages.

Some states have capped awards for punitive damages. In 1996, President Bill Clinton

vetoed a bill that would have limited punitive damage awards to $250,000, or two

times the economic and non economic damages, whichever amount was greater,

stating that it would deprive U.S. families of the ability to fully recover for injuries

caused by defective products. Case being should plaintiff is awarded anything in

resolution of this matter. No amount of money could ever circumvent the fact that
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plaintiff has suffered over 20 years, and still suffers and may in fact not survive the

removal of the Greenfield IVC Filter. BSC clearly and at all relevant times to this

matter knew ofthe potentially defective device produced by BSC. Defendants were

negligent in this case, BSC were negligent which refers to the absence of, or failure to

exercise, proper or ordinary care. The defendants BSC who had a legal obligation

either omitted to do what should have been done or did something that should not

have been done. In this instance BSC failed miserably to inform the plaintiff of the

defective IVC Filter and failed to warn plaintiff and others like her, that the

Greenfield IVC Filter was not intended to remain a permanent vessel in the plaintiff.

BSC at least since 2005 knew of the possibility that their product was defective,

namely the struts of the device and the hooks at each end was an exclusive design of

the BSC product, those same hooks had the potential to become 'permanently'

embedded in the consumer, yet BSC never notified the plaintiff or consumers like her

of the 'potential harm' of their IVC filter. Despite the common impression of Womble

and Iqbal as revolutionizing federal pleading standards, the evidence one year Iqbal

suggests that the cases are best seen as codifYing and focusing longstanding practice.

Based on indications so far from the lower courts, many motions to dismiss in routine

cases will continue to fail. But where the context of a case suggests a particular

burden on the courts or defendants, or particular reason to doubt a claim.

                                     CONCLUSION

       Wherefore based on all of the above and any prior motions defendants motion

should be denied. For all of the foregoing reasons, Boston Scientific Corporation et al

should be immediately dismissed. Plaintiffs complaint should be allowed to move

forward with a Jury of her peers. Defendants Southern Maryland Hospital et al should

be added to the complaint. This matter should be set for a timely hearing regarding the
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removal of the Greenfield IVC Filter as soon as possible. Defendants motions should

be dismissed with extreme prejudice, and this matter should be allowed to move

forward as soon as this Honorable Courts calendar will allow.




Date entered: October 11,2016



                                  Respectively submitted,




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                            CERTIFICATE OF SERVICE

      It is this 11th day of October 2016, under the penalties of perjury a copy of the

foregoing Memorandum of Law in Support of Plaintiffs Motion and Objection to

Dismiss, Adding Defendant Southern Maryland Hospital et al Motion for Emergency

Hearing on the Merits To have IV Filter Removed and Injunction Against Defendants

and to Have Plaintiffs Medical Information Concealed from the Public's Eye.

      Was sent first class mail postage prepaid via U.S. mail to the defendants

counsel:

Shook, Hardy & Bacon, LLP

1155 F Street N.W. Suite 200

Washington, D.C. 20004



                ~~-p-r-o-s-e----------


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